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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


 UNTIED STATES OF AMERICA,                            Case No. 22‐CR‐223 (NEB/DTS)

                        Plaintiff,

 v.                                                               ORDER

 HAMDI HUSSEIN OMAR (12),

                        Defendant.




       This case was scheduled for trial on April 14, 2025. Defendant filed a motion to

continue the trial (ECF No. 572) on March 17, 2025 and the Court granted the continuance

in part and continued the trial to April 21, 2025. Based on the Court’s trial calendar, the

Court will continue the jury selection until Thursday, April 24, 2025 at 9:00 a.m. The trial

will begin with opening arguments on Monday, April 28, 2025. All pretrial deadlines set

forth in the Third Amended Trial Notice and Pretrial Order (ECF No. 610) shall remain

in effect.



 Dated: April 3, 2025                          BY THE COURT:

                                               s/Nancy E. Brasel
                                               Nancy E. Brasel
                                               United States District Judge
